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UNITED STATES DISTRICTCOURT
EASTERN DISTRICT OF LOUISIANA Z0I00CT 15. px 6. 56
NEW ORLEANS DIVISION WF 29

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Scotbilt Homes, Inc., et al.

IN RE: FEMA TRAILER * MDL NO. 1873 C
FORMALDEHYDE PRODUCTS *
LIABILITY LITIGATION * SECTION “N” (5)
THIS DOCUMENT PERTAINS TO * JUDGE ENGELHARDT
Civil Action No. 09-7845 * MAGISTRATE CHASEZ
Natasha Huggins, et. al. *
Vs. *

SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ AMENDED COMPLAINT
PURSUANT TO PRETRIAL ORDER NO. 53

In compliance with Pretrial Order 53 (Rec. Doc. 9073), Plaintiffs hereby file their
Supplemental Exhibit “A” to their Amended Complaint to match the Plaintiffs to their correct
Contractor/Installer Defendants.

In addition to the information previously submitted on Exhibit “A”, Plaintiffs attach
hereto a Supplemental Exhibit “A” and incorporate same by reference herein.

Respectfully submitted,

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Trial Attorney in Charge for Plaintiffs

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Exhibit A
Natasha Huggins (201552)

Thao Tran (202670)

Thao Tran, as Next Friend of A.t, a minor (202671)

Thao Tran, as Next Friend of C.t, a minor (202672)

